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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA                         )
                                                  )
 vs.                                              )    CRIMINAL ACTION NO. 11-00262-KD
                                                  )
 JANEY GALBRAITH,                                 )
      Defendant.                                  )


                                              ORDER

        This action is before the Court on the Motion for Judgment of Acquittal or for New Trial

 filed by Defendant Janey Galbraith (“Galbraith”) (Doc. 342) and the United States’ response

 thereto (Doc. 345). Upon consideration, Defendant’s motion is DENIED.

 I.     Statement of the Law

        A.      Motion for Judgment of Acquittal

        Rule 29 of the Federal Rules of Criminal Procedure states that, “[a]fter the government

 closes its evidence or after the close of all the evidence, the court on the defendant’s motion must

 enter a judgment of acquittal of any offense for which the evidence is insufficient to sustain a

 conviction.” Fed. R. Crim. P. 29(a). The Rule also provides that “[a] defendant may move for a

 judgment of acquittal, or renew such a motion, within 14 days after a guilty verdict or after the

 court discharges the jury, whichever is later.” Fed. R. Crim. P. 29(c)(1).

         “A motion for judgment of acquittal is a direct challenge to the sufficiency of the

 evidence presented against the defendant.” United States v. Aibejeris, 28 F.3d 97, 98 (11th Cir.

 1994). In deciding such a motion, “district courts should apply the same standard as that used

 for reviewing a conviction for sufficiency of the evidence. The Court must view the evidence in

 the light most favorable to the government and determine whether a reasonable jury could have



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 found the defendant guilty beyond a reasonable doubt.” United States v. Sellers, 871 F.2d 1019,

 1021 (11th Cir. 1989) (internal citations omitted); see also United States v. Friske, 640 F.3d

 1288, 1291 (11th Cir. 2011) (the Court must draw “all reasonable inferences and credibility

 choices in the Government’s favor” (citation omitted)).

         To sustain a conviction, the evidence need not “exclude every reasonable hypothesis of

 innocence or be wholly inconsistent with every conclusion except that of guilt.” United States v.

 Garcia, 447 F.3d 1327, 1334 (11th Cir. 2006) (citation omitted). “The jury is free to choose

 between or among the reasonable conclusions to be drawn from the evidence presented at trial,

 and the court must accept all reasonable inferences and credibility determinations made by the

 jury.” Sellers, 871 F.2d at 1021 (internal citations omitted). Therefore, a “conviction must be

 upheld unless the jury could not have found the defendant guilty under any reasonable

 construction of the evidence.” United States v. Tate, 586 F.3d 936, 944 (11th Cir. 2009)

 (quoting United States v. Chastain, 198 F.3d 1338, 1351 (11th Cir. 1999)). “[T]he relevant

 question is whether . . . any rational trier of fact could have found the essential elements of the

 crime beyond a reasonable doubt.” Jackson v. Virginia, 443 U.S. 307, 319 (1979) (emphasis in

 original).

         B.     Motion for New Trial

         Pursuant to Rule 33 of the Federal Rules of Criminal Procedure, “[u]pon the defendant’s

 motion, the court may vacate any judgment and grant a new trial if the interest of justice so

 requires.” Fed. R. Crim. P. 33(a). “Thus, there are two grounds upon which a court may grant a

 motion for new trial: one based on newly discovered evidence . . . ; and the other based on any

 other reason, typically the interest of justice . . . .” United States v. Campa, 459 F.3d 1121, 1151

 (11th Cir. 2006). The decision whether to grant or deny a motion for new trial rests in the sound




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 discretion of the trial court. United States v. Champion, 813 F.2d 1154, 1170 (11th Cir. 1987).

 When addressing a Rule 33 motion based on the weight of the evidence, the court may weigh the

 evidence and consider the credibility of the witnesses. United States v. Aguilar, 188 F. App’x

 897, 901 (11th Cir. 2006) (citation omitted). However, a district court “may not reweigh the

 evidence and set aside the verdict simply because it feels some other result would be more

 reasonable.” United States v. Martinez, 763 F.2d 1297, 1313 (11th Cir. 1985). To warrant a new

 trial, “[t]he evidence must preponderate heavily against the verdict, such that it would be a

 miscarriage of justice to let the verdict stand.” Id.

 II.    Analysis

        A.      Count One

        Inasmuch as they are merely repetitive of the arguments Defendant offered (and the

 Court rejected) at the close of the Government’s case and at the close of all evidence,

 Defendant’s arguments regarding the sufficiency of the evidence supporting Count One of the

 Third Superseding Indictment (Doc. 180) are unpersuasive and do not merit prolonged

 discussion. Viewed in the light most favorable to the Government, the evidence adduced at trial

 supports a rational determination that Defendant is guilty the conspiracy charged in Count One.

 See United States v. Powell, 469 U.S. 57, 67 (1984).1



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     Defendant devotes nearly a fifth of her brief to reasserting that testimony concerning
 interactions between the City of Bayou La Batre and Volunteers of America Southeast (“VOA”)
 effected a material variance of the indictment. Compare Doc. 342 at 17-22 with Doc. 322 at 1-8
 and Doc. 331 at 3-4. Again, the Court rejects Defendant’s twice-offered argument. The VOA
 evidence was relevant to show how Defendant came to administer the FEMA grant at issue in
 Count One and to demonstrate the nature of the relationship between Galbraith and co-defendant
 Stanley Marshall Wright. See United States v. Lopez, 649 F.3d 1222, 1248 (11th Cir. 2011)
 (testimony of pre-conspiracy drug dealings properly admitted to show when conspiracy began
 and to provide context); see also United States v. Spaeni, 60 F.3d 313, 316 (7th Cir. 1995)
 (government did not expand conspiracy beyond dates contained in indictment where evidence of



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        B.      Count Nine

        In a handful of one- and two-sentence paragraphs, Defendant’s challenges 1) the

 sufficiency of the evidence supporting her conviction on Count Nine and 2) the constitutionality

 of 18 U.S.C. § 1516, which criminalizes obstruction of a federal audit. (Doc. 342 at 24-25).

 Defendant offers no support for her bare-bones arguments. Whereas “[i]t is not enough merely

 to mention a possible argument in the most skeletal way, leaving the court to do counsel’s work,”

 United States v. Zannino, 895 F.2d 1, 17 (1st Cir. 1990), the Court summarily rejects

 Defendant’s contentions.

        C.      Counts Thirteen, Fourteen, and Fifteen

        The argument with respect to the remaining counts pertains to the Court’s refusal to

 instruct the jury that materiality is an element of federal audit obstruction. (Doc. 342 at 25-29).

 The Court rejects Defendant’s argument for the reasons stated on the record when Defendant

 first requested a materiality instruction and relied on Neder v. United States, 527 U.S. 1 (1999),

 the same inapposite Supreme Court authority that Defendant now cites in her brief.

 III.   Conclusion

        For the reasons stated herein, Defendant’s motion for judgment of acquittal or new trial

 (Doc. 342) is DENIED.

        DONE and ORDERED this the 18th day of July 2012.

                                              /s/ Kristi K. DuBose
                                              KRISTI K. DuBOSE
                                              UNITED STATES DISTRICT JUDGE




 pre-conspiracy acts explained how conspiracy began and provided a context for the jury to
 evaluate the alleged conspiratorial acts).



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